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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE: ABBOTT LABORATORIES, ET                       MDL NO. 3026
AL., PRETERM INFANT NUTRITION
PRODUCTS LIABILITY LITIGATION                        Master Docket No. 1:22-cv-00071


This Document Relates to:                            Hon. Rebecca R. Pallmeyer

ALL ACTIONS



                             PROPOSED REVISED SCHEDULE

       In accordance with the Court’s February 3, 2023 Order [307], the Parties respectfully

submit the following proposed revised schedule for the Court’s consideration. The Parties agree

as to all of the proposed dates up through October 30, 2023. However, despite conferring, the

Parties have competing proposals for the remaining case deadlines. To facilitate the Court’s

review, the Parties’ respective proposals for any disputed deadlines are listed in separate

columns.

       The Parties will be available to discuss these issues at the June 21, 2023 Status

Conference.


                           Deadline                                       Agreed Dates
 Abbott to provide plaintiffs with the names of additional,
 potential foreign regulatory and/or lobbying custodians for
 consideration                                                               06/23/23
 Abbott to substantially complete the production of certain
 non-custodial shared drives and SharePoint sites that
 Abbott agreed as of 04/12/23 to (i) collect entirely, (ii)
 apply the search terms agreed to on 02/17/22 and 01/02/23,
 and (iii) review for potential production                                   06/23/23
 Abbott to substantially complete productions for 10 of the
 30 general liability custodians identified to date                          06/30/23
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Mead Johnson will use best efforts to substantially
complete document productions for 18 of its original 23
custodians on or about this date (to the extent not already          06/30/23
completed)
Plaintiffs to provide Abbott and Mead Johnson with
supplemental interrogatory responses                                 06/30/23
Plaintiffs to use best efforts to provide Abbott and Mead
Johnson with the names of any additional general liability           06/30/23
custodians
Abbott will produce documents on a rolling basis for the
remaining 20 general liability custodians identified to date    07/01/23 – 09/29/23
Mead Johnson will produce documents on a rolling basis
for the remaining general liability custodians identified to
date as set forth in more detail below                          07/01/23 – 10/30/23
Bellwether Plaintiffs to substantially complete their
productions in response to Abbott’s and Mead Johnson’s
requests for production                                              07/12/23
Mead Johnson will use best efforts to substantially
complete document productions for the remaining 5 of its
original 23 custodians on or about this date                         07/15/23
Parties to meet and confer regarding anticipated production
schedule for general liability custodians Plaintiffs
designate by 06/30/23                                                07/21/23
Mead Johnson will use its best efforts to substantially
complete document productions for 7 additional custodians
on or about this date                                                07/30/23
Abbott to substantially complete the production from
certain non-custodial shared drives and SharePoint sites
that Abbott agreed as of 05/15/23 to collect based on
application of a separately negotiated set of search terms to
folder/file path listings, which will be used to identify
documents for review and potential production                        07/31/23
Abbott will substantially complete the production of
supplemental clinical study data for a population of 23
studies agreed to by the parties to the Illinois state court
litigation on 01/23/23                                               08/15/23
Mead Johnson will use its best efforts to substantially
complete document productions for 6 additional custodians
on or about this date                                                08/15/23
Abbott and Mead Johnson to use best efforts to
substantially complete document production of “PSURs”
(or their jurisdictional equivalents) they submitted to
regulators in Canada, Israel, India, or the EU, to the extent
such documents exist for the relevant time period                    08/15/23
Parties to select 4 initial bellwether trial cases
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 (Note: will commence case-specific discovery in trial
 selections as of this date; general discovery will remain                     09/14/23
 ongoing)
 Abbott to substantially complete productions for general
 liability custodians                                                          09/29/23
 Parties to provide the Court with a Joint Status Report
 regarding the progress of fact discovery                                      09/29/23
 Mead Johnson will use its best efforts to substantially
 complete document productions for 6 additional custodians
 on or about this date                                                         10/15/23
 Mead Johnson to substantially complete productions for
 general liability custodians                                              10/30/23
                                                                   Defense          Plaintiff
                                                                   Proposal        Proposal
 Close of fact discovery
 (Note: this applies to both general and case-specific fact
 discovery in trial selections)                                    12/31/23               02/02/24
 Plaintiffs to submit expert reports
 (Note: this applies to both general and case-specific expert
 discovery in trial selections)                                    02/12/24            03/22/24
 Defendants to submit expert reports                               03/25/24            04/19/24
 Submission of any rebuttal expert reports                         04/12/24            05/17/24
 Depositions of experts                                           04/15/24 –          06/03/24 –
                                                                   05/31/24            08/02/24
 Timeframe to conduct court-ordered mediation in trial            06/03/24 –          08/05/24 –
 selections                                                        06/14/24            08/16/24
 Any summary judgment or Daubert motions                           06/21/24            08/30/24
 Responses to any summary judgment or Daubert motions              07/26/24            10/11/24
 Replies to any summary judgment or Daubert motions                08/16/24            10/25/24
 Hearing dates on summary judgment or Daubert motions             08/26/24 –          11/04/24 –
                                                                   08/27/24            11/08/24
 Pretrial Conference date to establish schedule for initial
 trials                                                            09/09/24               11/19/24

Dated: June 16, 2023                                 Respectfully Submitted,

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                   IN THE UNITED STATES DISTRICT COURT
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                                NOTICE OF FILING

       PLEASE TAKE NOTICE that on June 16, 2023, Defendants Abbott Laboratories and
Abbott Laboratories, Inc. filed the attached PROPOSED REVISED SCHEDULE with the United
States District Court Northern District of Illinois.

DATED: June 16, 2023                          Respectfully submitted,

                                             /s/ Stephanie E. Parker

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                                CERTIFICATE OF SERVICE

        The undersigned certifies that a true and correct copy of the foregoing PROPOSED
REVISED SCHEDULE was electronically filed with the Clerk of Court using CM/ECF this 16th
day of June 2023. I also certify that the foregoing document is being served this day on all counsel
of record via transmission of Notice of Electronic Filing generated by CM/ECF.

                                                    /s/ Stephanie E. Parker
